   6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 1 of 23




                    UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

              Plaintiff,

                –v–                          Case No. 6:20-cv-00423-JFH

JEFFREY LOWE, LAUREN LOWE,
GREATER WYNNEWOOD EXOTIC
ANIMAL PARK, LLC, and TIGER KING,
LLC,

             Defendants.




PROPOSED INTERVENOR-PLAINTIFF PEOPLE FOR THE ETHICAL TREATMENT
      OF ANIMALS’ BRIEF IN SUPPORT OF MOTION TO INTERVENE
         6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 2 of 23




                                                                Table of Contents

Statement of Compliance With LCvR 7.1(f) .................................................................................. 1
Preliminary Statement ..................................................................................................................... 1
Factual Background ........................................................................................................................ 2
Procedural Background ................................................................................................................... 3
Argument ........................................................................................................................................ 6
   I.     PETA is Entitled to Intervene As of Right........................................................................................ 6
           A.         PETA’s Intervention Is Timely ........................................................................................... 6
           B.         PETA Has Substantial Interests in This Proceeding ........................................................... 8
                      1.         PETA seeks to redress impairment of its mission ................................................. 8
                      2.         PETA has litigation interests at stake .................................................................... 9
                      3.         PETA has financial interests at stake ................................................................... 11
           C.         The Disposition of This Case May Impair PETA’s Interests ........................................... 11
                      1.         PETA is entitled to redress impairment of its mission ........................................ 11
                      2.         PETA is entitled to protect its litigation interests ................................................ 12
                      3.         PETA is entitled to protect it is financial interests .............................................. 13
           D.         PETA’s Interests Are Not Adequately Represented by the Existing Parties .................... 13
                      1.         The government presumptively represents varied stakeholders .......................... 13
                      2.         PETA is entitled to pursue its own litigation strategy ......................................... 16
   II.    Alternatively, PETA Satisfies the Standards for Permissive Intervention ...................................... 17
Conclusion .................................................................................................................................... 18




                                                                      –i–
       6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 3 of 23




                                                              Table of Authorities

Cases
Big Cat Rescue Corp. v. Schreibvogel,
  No. CIV-16-155-SLP, 2020 WL 2842845 (W.D. Okla. June 1, 2020)..................................... 17
Coal. of Arizona/New Mexico Ctys. for Stable Econ. Growth v. Dep’t of Interior,
  100 F.3d 837 (10th Cir. 1996) ............................................................................................ passim
Kane Cty. v. United States,
  928 F.3d 877 (10th Cir. 2019) ............................................................................................ passim
Nat’l Farm Lines v. Interstate Commerce Comm’n,
  564 F.2d 381 (10th Cir.1977) .......................................................................................... 6, 14, 16
Natural Res. Def. Council v. United States Nuclear Regulatory Comm’n,
  578 F.2d 1341 (10th Cir.1978). ........................................................................................... 11, 13
PETA v. Dade City’s Wild Things, Inc.,
  No. 8:16-CV-2899-T-36AAS, 2019 WL 245343 (M.D. Fla. Jan. 17, 2019) .............................. 3
PETA v. Lauren Lowe,
  No. 5:20-CV-00612-PRW (W.D. Okl. Dec. 17, 2020) ............................................................. 11
PETA v. Lowe, et al.,
  No. 5:20-CV-01076-D (W.D. Okla. Oct. 22, 2020)........................................................... passim
PETA v. Tri-State Zoological Park of W. Maryland, Inc.,
  424 F. Supp. 3d 404 (D. Md. 2019), aff’d, No. 20-1010, 2021 WL 305546 (4th Cir. Jan. 29,
  2021)...................................................................................................................................... 3, 17
PETA v. United States Dep’t of Agric.,
  861 F.3d 502 (4th Cir. 2017). .................................................................................................... 14
PETA v. Wildlife in Need and Wildlife in Deed, Inc., et al.,
  476 F. Supp. 3d 765 (S.D. Ind. Aug. 3, 2020) ................................................................... passim
San Juan Cty., Utah v. United States,
  503 F.3d 1163 (10th Cir. 2007) ................................................................................................... 7
United States v. Osage Wind, LLC,
  No. 14-CV-704-GKF-JFJ, 2020 WL 3578351 (N.D. Okla. July 1, 2020).................................. 6
Utah Ass’n of Ctys. v. Clinton,
  255 F.3d 1246 (10th Cir. 2001) .......................................................................................... passim
W. Energy All. v. Zinke,
  877 F.3d 1157 (10th Cir. 2017) .......................................................................................... passim
WildEarth Guardians v. National Park Service,
  604 F.3d 1192 (2010) .................................................................................................. 8, 9, 11, 13
Statutes
16 U.S.C. § 1540(g)(2) ............................................................................................................... 5, 7
16 U.S.C. § 1540(g)(4) ........................................................................................................... 11, 12
Rules
Rule 12(b)(6), Federal Rules of Civil Procedure ............................................................................ 7
Rule 24(a)(2), Federal Rules of Civil Procedure ................................................................ 8, 11, 12
Rule 24(a), Federal Rules of Civil Procedure ................................................................. 2, 6, 17, 18
Rule 24(b)(1)(B), Federal Rules of Civil Procedure............................................................... 17, 18

                                                                     – ii –
       6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 4 of 23




Rule 24(b)(3), Federal Rules of Civil Procedure .......................................................................... 17
Rule 24(b), Federal Rules of Civil Procedure ................................................................. 2, 6, 17, 18
Rule 27(a)(2), Federal Rules of Civil Procedure ............................................................................ 5
Rule 7.1(f), Local Civil Rules ......................................................................................................... 1




                                                                – iii –
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 5 of 23




                         Statement of Compliance With LCvR 7.1(f)

       Proposed Plaintiff-Intervenor People for the Ethical Treatment of Animals, Inc. (“PETA”)

has fulfilled its obligation to meet and confer with counsel of record for Defendants and the

Plaintiff the United States of America under LCvR 7.1(f). Counsel for the United States, by

telephone conference and email (allowed under LCvR 7.1(f) given the significant distance between

offices of counsel), informed PETA that the United States does not oppose PETA’s requested

intervention, but reserves the right to move the Court to place any limits on PETA’s participation

it may deem reasonable and necessary. During an in-person meet and confer with counsel for

Defendants held Tuesday, April 20, 2021, counsel discussed the parties’ positions with respect to

the proposed intervention, after which counsel for Defendants informed PETA’s counsel that his

clients intend to oppose PETA’s motion to intervene, on grounds to be set out in their opposition.

                                     Preliminary Statement

       PETA is a non-profit dedicated to protecting animals from abuse, neglect, and cruelty. For

many years, this has meant confronting Jeffrey Lowe, Lauren Lowe, and their many business

partners and facilities through, among other means, fielding public complaints, conducting

investigations, submitting public records requests and regulatory complaints, publishing press

releases and other media content, coordinating public demonstrations, and prosecuting litigation

in Florida, Indiana, and Oklahoma.

       These measures were necessitated by PETA’s mission. For years, Defendants have been

the hub of a national industry of hands-on interaction between members of the public and exotic

animals including lions, tigers, and hybrids thereof. As some of the highest profile exploiters and

abusers of animals, including those protected by the Endangered Species Act (“ESA”),

Defendants’ ongoing operations have significantly impaired PETA’s mission. In addition, Mr.

Lowe and Mrs. Lowe and their accomplices, many of whom are Defendants in this action, have

                                              –1–
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 6 of 23




voluntarily interposed themselves in ongoing efforts by PETA to fight exploitation of captive

animals by other exhibitors—including litigation in the Southern District of Indiana and the Middle

District of Florida in which Defendants willfully made themselves required parties or subjects of

discovery because of their actions with respect to ESA-protected animals.

       PETA had previously sent notice of its intent (“NOI”) to file a citizen suit under the ESA

to Defendants Jeffrey Lowe, Lauren Lowe, Greater Wynnewood Exotic Animal Park, LLC

(“GWEAP”), and Tiger King LLC, as well as Cheryl Scott, Eric Yano, Erik Cowie, and the Big

Cat Institute. As PETA’s claims against all recipients are now ripe, PETA satisfies the standards

for intervening in this proceeding as a matter of right pursuant to Rule 24(a) of the Federal Rules

of Civil Procedure or, in the alternative, should be granted leave to intervene under Rule 24(b).

                                      Factual Background

       PETA contends Defendants have unlawfully harmed, harassed, wounded, and caused the

death of animals, including many protected by the ESA, for years without meaningful

repercussion. See Drft. Verified PETA Compl., attached as Exhibit 1, at ¶¶ 13-158. These

practices have greatly impaired, and continue to greatly impair, PETA’s mission by, for example,

creating incorrect public impressions that these practices are humane, lawful, and tolerable. Id. at

¶ 162, 171. As a result, PETA’s mission has required it to, through the course of many years, divert

significant non-litigation resources to counteract this impairment. Id. at ¶¶ 163-164, 169-170.

These diversions include engaging in frequent monitoring of Defendants’ activities and practices;

submitting complaints and public records requests relating to Defendants’ practices to government

agencies; publishing media content about Defendants including blog posts, articles, fact sheets,




                                               –2–
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 7 of 23




and press releases; reviewing and responding to complaints from members of the public about

Defendants; coordinating public demonstrations, and facilitating animal rescues. Id.

       When necessary, that same mission obligates PETA to evaluate and consider litigation,

such as under the ESA’s citizen suit provision and public nuisance law. For example, PETA has

previously pursued successful litigation against exhibitors in the District of Maryland, the Middle

District of Florida, and the Southern District of Indiana. See, e.g., PETA v. Tri-State Zoological

Park of W. Maryland, Inc. (“Tri State”), 424 F. Supp. 3d 404 (D. Md. 2019), aff’d, No. 20-1010,

2021 WL 305546 (4th Cir. Jan. 29, 2021); PETA v. Wildlife in Need and Wildlife in Deed, Inc.

(“WIN”), et al., 476 F. Supp. 3d 765 (S.D. Ind. Aug. 3, 2020); PETA v. Dade City’s Wild Things,

Inc. (“DCWT”), No. 8:16-CV-2899-T-36AAS, 2019 WL 245343 (M.D. Fla. Jan. 17, 2019).

       While Defendants were not anticipated subjects of these prior actions, they chose to insert

themselves into a number of them by taking possession of—and ultimately causing or contributing

to the harm, harassment, wounding, and deaths of—ESA-protected animals at issue in those cases,

in knowing contempt of the Federal Rules of Evidence and court orders. See, e.g., Ex. 1, at ¶¶ 166-

168. As a result, PETA has also been required, during the course of many years, to divert

significant resources to taking discovery from and litigating claims against Mr. and Mrs. Lowe

and their associates in the Middle District of Florida, the Southern District of Indiana, and the

Western District of Oklahoma. Id. Some of these actions, including proceedings against Mr. and

Mrs. Lowe, remain pending. Id.

                                    Procedural Background

       On September 21, 2020, PETA sent a NOI to file a citizen suit pursuant to the ESA to Mr.

Lowe, Mrs. Lowe, GWEAP, and Tiger King LLC. See Notice of Intent to File Citizen Suit, PETA

v. Lowe, et al., No. 5:20-CV-01076-D (W.D. Okla. Oct. 22, 2020) [Doc. No. 3-1,] also attached as

App. 1 to the Draft Verified PETA Complaint (“NOI Letter”). Other addressees of PETA’s NOI
                                              –3–
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 8 of 23




were Cheryl Scott, Eric Yano, Erik Cowie, and the Big Cat Institute. Id. PETA’s NOI alleged past

and ongoing violations of the ESA with respect to lemurs, a grizzly bear, a jaguar, tigers, lions,

and tiger-lion hybrids (together with jaguar, tigers, and lions, “Big Cats”). Id.

       The United States filed this action on November 19, 2020—59 days after PETA sent its

NOI. [Doc. No. 2.]

       On October 22, 2020, while waiting for its ESA claims to ripen, PETA filed a Rule 27

petition to preserve existing evidence related to the endangered and threatened species in the

possession and control of Defendants and other respondents in the Western District of Oklahoma.

See R. 27 Petition, PETA v. Lowe, et al., No. 5:20-CV-01076-D (W.D. Okla. Oct. 22, 2020) [Doc.

No. 1] (“R. 27 Petition”). This action was necessitated, in large part, by Defendants’ prior actions

aiding and abetting attempted spoliation of Big Cats at issue in the Middle District of Florida and

in the Southern District of Indiana. Id. at 10-15.

       PETA’s Rule 27 petition was granted following oral argument on November 30, 2020. See

Order, PETA v. Lowe, et al., No. 5:20-CV-01076-D (W.D. Okla. Nov. 30, 2020) [Doc. No. 27]

(“R. 27 Order”). Two weeks later, instead of taking steps to comply with the Court’s order, Mr.

and Mrs. Lowe moved to set it aside. See Mot. to Set Aside Court’s Nov. 30 Order, PETA v. Lowe,

et al., No. 5:20-CV-01076-D, (W.D. Okla. Dec. 16, 2020) [Doc. No. 31] (“Recons. Mot.”). This

motion was rejected on December 29, 2020. PETA v. Lowe, et al., No. 5:20-CV-01076-D, 2020

WL 7755657, at *2-*3 (W.D. Okla. Dec. 29, 2020). PETA conducted an inspection and took

depositions pursuant to the Western District of Oklahoma’s Rule 27 order on January 22-23, 2021.

       On November 30, 2020, during oral argument with respect to PETA’s Rule 27 petition,

counsel for Defendants conceded that the United States’ action does not preclude PETA’s citizen

suit, see Tr. of Oral Arg. on R. 27 Petition, PETA v. Lowe, et al., No. 5:20-CV-01076-D (W.D.



                                                –4–
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 9 of 23




Okla. Dec. 22, 2020) [Doc. No. 33-1,] (“Oral Arg. Tr.”), at 24:7-20, going so far as to say he would

move to consolidate it with the present case should PETA file in the Western District: “I was just

served today with the DOJ case from the Eastern District of Oklahoma. Obviously, as the Court is

aware, DOJ is requesting—it’s the same facts, exact same animals, same place. . . . And, obviously,

there is substantial—there could be—there’s substantial risk of contradicting judgments at the end

of the day. . . . [E]ven if [PETA’s citizen suit] weren’t dismissed, I would move to transfer it and

consolidate it to the Eastern District because, again, the Lowes shouldn’t have to pay for and

litigate two different lawsuits on the exact same thing. . . . So the point is there’s a lot of overlap.

And even if it weren’t dismissed, I would request that it be transferred and consolidated.” Oral

Arg. Tr., at 19:6-21:3.

        Despite PETA’s best efforts, it was unable to send its NOI to all recipients in September

2020, as Mr. Yano never claimed the certified mailing. See Mot. for Recognition of Substitute

Service, PETA v. Lowe, et al., No. 5:20-CV-01076-D (W.D. Okla. Dec. 11, 2020) [Doc. No. 29]

(“Mot. for Substitute Service”). Nor was PETA able to, despite reasonable diligence, serve Mr.

Yano for the purposes of Rule 27(a)(2). Id. at 2-4. On December 29, 2020, the Western District of

Oklahoma approved PETA’s efforts as acceptable substitute service and appointed counsel for

Defendants, Daniel Card, to represent Mr. Yano consistent with Rule 27(a)(2). PETA v. Lowe, et

al., 2020 WL 7755657, at *1-*2. PETA sent Mr. Card the NOI for Mr. Yano’s benefit on

December 29, 2020. Dec. 29, 2020 email from A. Smith, attached as Exhibit 2.

        As such, PETA’s ESA claims became ripe against all recipients of its NOI after March 1,

2021. 16 U.S.C. § 1540(g)(2). Should this Court choose not to grant leave for PETA to intervene

as a party plaintiff, PETA stands ready to file all of its claims as a standalone case. See Ex. 1.




                                                 –5–
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 10 of 23




                                             Argument

       Anyone shall be permitted to intervene in an ongoing action when, “[o]n timely motion . .

. [they] claim[] an interest relating to the property or transaction that is the subject of the action,

and is so situated that disposing of the action may as a practical matter impair or impede the

movant's ability to protect its interest, unless existing parties adequately represent that interest.”

Fed. R. Civ. P. 24(a). PETA easily meets these requirements, as well as the broader standards for

permissive intervention under Rule 24(b).

I.     PETA is Entitled to Intervene As of Right

       This Circuit has “historically taken a liberal approach to intervention and thus favors the

granting of motions to intervene” provided the movant can meet the elements of Rule 24(a). Kane

Cty. v. United States, 928 F.3d 877, 890 (10th Cir. 2019). See also Utah Ass’n of Ctys. v. Clinton,

255 F.3d 1246, 1249 (10th Cir. 2001) (reversing denial of motion to intervene while observing

“[t]his circuit follows ‘a somewhat liberal line in allowing intervention.’” (quoting Nat’l Farm

Lines v. Interstate Commerce Comm’n, 564 F.2d 381, 384 (10th Cir.1977))).

       This analysis remains unchanged where a movant is seeking to intervene as a plaintiff in

civil litigation brought by the United States. See, e.g., United States v. Osage Wind, LLC, No. 14-

CV-704-GKF-JFJ, 2020 WL 3578351, at *7 (N.D. Okla. July 1, 2020) (allowing intervention as

of right for private litigant as plaintiff). Likewise, this Circuit recognizes that intervention is

appropriate to vindicate the ESA citizen suit provision and ensure protection of listed species.

Coal. of Arizona/New Mexico Ctys. for Stable Econ. Growth v. Dep’t of Interior, 100 F.3d 837,

840-46 (10th Cir. 1996).

       A.      PETA’s Intervention Is Timely

       Whether a motion to intervene is timely is determined by considering “all of the

circumstances,” including the “length of time since the applicant knew of his interest in the case,”

                                                –6–
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 11 of 23




“prejudice to the existing parties,” “prejudice to the applicant,” and “the existence of any unusual

circumstances.” Kane Cty., 928 F.3d at 890-91. All of these factors weigh in favor of granting

PETA leave to intervene.

       First, PETA’s motion to intervene and accompanying draft verified complaint against all

recipients of its NOI comes squarely within the range of time this Circuit deems timely. Ex. 2; 16

U.S.C. § 1540(g)(2). In a similar context, the 10th Circuit has suggested that non-profit

environmental conservation groups’ interval of “just over two months” after intervention became

possible was timely. W. Energy All. v. Zinke, 877 F.3d 1157, 1164-165 (10th Cir. 2017). See also

Kane Cty., 928 F.3d at 891 (interval of three months deemed timely).

       Second, there is no prejudice to any party. As Defendants conceded, intervention serves

their own interests—if they cannot succeed in having PETA’s lawsuit dismissed under Rule

12(b)(6), it would be less burdensome for them to have it consolidated with the instant litigation

rather than face “two different lawsuits.” Oral Arg. Tr., at 19:6-21:3. There is also no prejudice to

the United States. The United States would not be “expose[d] . . . to any burden not inherent in the

litigation to which it has consented,” San Juan Cty., Utah v. United States, 503 F.3d 1163, 1174

(10th Cir. 2007), because PETA’s ESA and public nuisance claims implicate the same conduct

and the same animals that are at issue in the United States’ ESA and Animal Welfare Act (“AWA”)

claims. Rather, “every item of evidence” that PETA might present “is one that another party . . .

would undoubtedly have the right to present in the absence of [PETA],” even though PETA “may

in fact present matters that would not have been presented by other parties[.]” Id. And as the instant

litigation has only been pending since November 2020, the “relatively early stage of the litigation”

also supports the timeliness of PETA’s motion to intervene. Utah Ass’n of Ctys., 255 F.3d at 1251.

See also W. Energy All., 877 F.3d at 1165.



                                                –7–
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 12 of 23




       Finally, the unusual circumstances at hand favor PETA’s request to intervene while further

demonstrating Defendants’ lack of prejudice. Defendants’ own conduct has unnecessarily

prolonged PETA’s timeline for bringing its lawsuit. Mr. Yano’s refusal to accept the certified mail

PETA sent him in September 2020 required PETA to pursue a motion for substitute service. See

Mot. for Substitute Service, at 2-4; PETA v. Lowe, et al., 2020 WL 7755657, at *1-*2. PETA could

only be sure that Mr. Yano had adequate notice of its NOI via his newly-appointed counsel after

December 29, 2020. See Ex. 2. Mr. Lowe and Mrs. Lowe likewise unnecessarily prolonged the

resolution of PETA’s motion for recognition of substitute service for Mr. Yano and appointment

of Mr. Card as counsel by interposing an unsuccessful motion to set aside the Western District of

Oklahoma’s prior order. PETA v. Lowe, et al., 2020 WL 7755657, at *2-*3.

       B.      PETA Has Substantial Interests in This Proceeding

       Rule 24(a)(2) requires the applicant to “claim[] an interest relating to the property or

transaction that is the subject of the action[.]” This is not a rigid test, but “primarily a practical

guide to disposing of lawsuits by involving as many apparently concerned persons as is compatible

with efficiency and due process[.]” Coal., 100 F.3d at 841 (internal citations omitted). Based on

this Circuit’s determination that a movant’s “record of advocacy for . . . protection” of animals

under the ESA “amounts to a direct and substantial interest . . . for the purpose of intervention as

of right,” id. at 841, PETA should easily meet the necessary threshold. See, e.g., WildEarth

Guardians v. National Park Service, 604 F.3d 1192, 1198 (2010) (“With respect to Rule 24(a)(2),

we have declared it indisputable that a prospective intervenor’s environmental concern is a legally

protectable interest.”)

               1.         PETA seeks to redress impairment of its mission

       As PETA alleges in the verified allegations of its draft complaint, its mission has caused it

to advocate for the animals under Defendants’ care for years. Ex. 1, at ¶¶ 159-173. Meanwhile,
                                                –8–
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 13 of 23




this action brought by the United States seeks similar declaratory and injunctive relief and to have

Defendants “relinquish possession of all their ESA-protected animals[.]” See, e.g., [Doc No. 2,] at

46. As addressed further below, PETA has a valid interest in redressing impairment of it mission—

elaborated at Ex. 1, at ¶¶ 159-173—by seeing that Defendants’ practices receive legal

condemnation and injunction and that all of the animals at issue are protected via surrender to

reputable facilities. See Coal., 100 F.3d at 841; WildEarth Guardians, 604 F.3d at 1198.

               2.      PETA has litigation interests at stake

       Defendants’ willful actions—including the physical taking of Big Cats at issue in litigation

against exhibitors in other federal jurisdictions, in violation of evidence preservation obligations

and orders—have also required PETA to engage in years of litigation against Defendants in the

Southern District of Indiana and the Western District of Oklahoma, and to take third party

discovery from Defendants in litigation in the Middle District of Florida. Ex. 1, at ¶¶ 165-168.

This prior litigation is further evidence of PETA’s substantial interest in this proceeding. See

W. Energy All., 877 F.3d at 1165 (“The conservation groups also have an interest in preserving the

Leasing Reform Policy that they spent years negotiating and litigating.”).

       Prior rulings in this case have acknowledged some of PETA’s interests in this proceeding.

For example, this Court’s January 15, 2021 ruling on the United States’ motion for a preliminary

injunction recognized that allegations relating to four lions that are the subject of PETA’s litigation

in the Southern District of Indiana—and that are the subject of a pending summary judgment

motion in that case, see Br. in Supp. of Mot. for Summ. J., PETA v. WIN, et al., No. 4:17-cv-

00186-RLY-DML (S.D. Ind. Sept. 11, 2020), [Doc. No. 407] (“S.D. Ind. Summ. J. Mot.”)—are

also at issue in this matter. [Doc. No. 65,] at 11. PETA has a valid interest in ensuring that evidence




                                                –9–
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 14 of 23




presented in this proceeding does not erroneously place any material facts presented in PETA’s

pending motion for summary judgment in dispute. See W. Energy All., 877 F.3d at 1165.

       This Court’s ruling also cited the fact that “[the Southern District of Indiana] recently

issued an order rejecting the argument that Big Cat hybrids are not protected under the ESA.”

[Doc. No. 65,] at 9. Defendants chose to reserve their right to press this issue later rather than

addressing it in their pending motion to dismiss, see [Doc. No. 70,] and PETA has a valid interest

in preserving the precedent it has won—and may continue to win—against Defendants in other

jurisdictions on this point.1 See W. Energy All., 877 F.3d at 1165.

       PETA also has an interest in holding Defendants accountable in this jurisdiction for

representations they have made in this proceeding that contradict positions they have taken in the

Southern District of Indiana. As PETA recently informed the Southern District of Indiana, records

produced by Defendants and entered as evidence in this proceeding contradict evidence, sworn

testimony, and assertions of counsel concerning the date of a lion’s death and the date of a break-

in at GWEAP, as well as other issues relevant to the merits of PETA’s pending summary judgment

motion against Mr. Lowe. See Mot. for Leave to File Supplemental Evidence, PETA v. WIN, et

al., No. 4:17-cv-00186-RLY-DML (S.D. Ind. Dec. 2, 2020), [Doc. No. 440] (“First S.D. Ind.

Supplemental Evidence Motion”); Mot. for Leave to File Supplemental Evidence, PETA v. WIN,

et al., No. 4:17-cv-00186-RLY-DML (S.D. Ind. March 2, 2021), [Doc. No. 441] (“Second S.D.

Ind. Supplemental Evidence Mot.”).




1      Defendants’ pending motion to dismiss also argues that the prevailing definitions of terms
defined by the AWA may implicate PETA. [Doc. 69,] at 8, 14. PETA stands ready to address this
spurious argument at an appropriate juncture after it is granted leave to intervene.
                                              – 10 –
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 15 of 23




               3.      PETA has financial interests at stake

        Finally, PETA has a financial stake in this proceeding. Mrs. Lowe has been found in

contempt of an order issued in the Western District of Oklahoma to pay PETA $6,851.92. See

Order, PETA v. Lauren Lowe, No. 5:20-CV-00612-PRW (W.D. Okl. Dec. 17, 2020), [Doc. No.

17] (“Lauren Lowe Contempt Order”). Mrs. Lowe now owes PETA this amount as well as an

award of interest. Id. at 3. PETA also anticipates the success of its pending summary judgment

motion against Mr. Lowe in the Southern District of Indiana will result in a fee award under the

ESA’s fee shifting provision. 16 U.S.C. § 1540(g)(4) (under the ESA, a court “may award costs of

litigation (including reasonable attorney and expert witness fees) to any party, whenever the court

determines such award is appropriate”). To the extent the outcome of this matter may alter

Defendants’ financial status, PETA intends to pursue any available remedies to protect its own

interests.

        C.     The Disposition of This Case May Impair PETA’s Interests

        Rule 24(a)(2) requires a movant to show that “disposing of the action may as a practical

matter impair or impede the movant’s ability to protect its interest[.]” In this Circuit, “the question

of impairment is not separate from the question of the existence of an interest.” Utah Ass’n of

Ctys., 255 F.3d at 1253, citing Natural Res. Def. Council v. United States Nuclear Regulatory

Comm’n, 578 F.2d 1341, 1345 (10th Cir.1978). To satisfy this test, PETA need only meet “a

minimal burden,” and show that impairment is merely “possible” if intervention is denied. Kane

Cty., 928 F.3d at 891-92; W. Energy All., 877 F.3d at 1167; WildEarth Guardians, 604 F.3d at

1199; Utah Ass’n of Ctys., 255 F.3d at 1253.

               1.      PETA is entitled to redress impairment of its mission

        Disposition of this action is likely to adjudicate Defendants’ past, ongoing, and future

animal care practices and decide the permanent home of many animals in Defendants’ control. If
                                                – 11 –
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 16 of 23




this action were to conclude without Defendants’ practices being declared in violation of the ESA

or otherwise subject to injunction, or if the animals at issue were to remain with Defendants or

relinquished to facilities that do not meet sufficient standards of humane and lawful conduct,

PETA’s interests—and mission—will continue to be impaired. Ex. 1, at ¶¶ 159-173. This more

than meets Rule 24(a)(2)’s standard. Coal., 100 F.3d at 841 (recognizing potential impairment to

movant’s ability to protect owls).

               2.      PETA is entitled to protect its litigation interests

       As referenced above, disposition of this action without PETA’s intervention may impair

PETA’s active litigation in the Southern District of Indiana, see [Doc. No. 65,] at 9, 11; Ex. 1, at

¶ 168; S.D. Ind. Summ. J. Mot.; First S.D. Ind. Supplemental Evidence Mot.; Second S.D. Ind.

Supplemental Evidence Mot., as well as PETA’s efforts to recover money owed as a result of

pending litigation. See Lauren Lowe Contempt Order; 16 U.S.C. § 1540(g)(4).

       PETA’s interests would be further impaired if the outcome of this litigation alters the

interpretation of the ESA, including the definition of protected species and whether challenged

conduct amounts to a “take”—the prevailing interpretations of which result in significant part from

PETA’s recent legal victories, including in litigation involving Mr. Lowe. See, e.g., [Doc. No. 65,]

at 9. In addition, factual holdings with respect to whether Defendants harmed, harassed, wounded,

or engaged in conduct leading to the death of animals at issue both in this proceeding and in

PETA’s litigation in the Southern District of Indiana may also impair not only the outcome of that

case, but also the precedential value of holdings from that case. In this way, PETA’s circumstances

resemble those of intervenors in Utah Ass’n of Ctys., who successfully argued that an adverse

judgment “would impair the intervenors’ interest in promoting their environmental protection

goals by seeking presidential designation of other national monuments in the future.” 255 F.3d at



                                              – 12 –
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 17 of 23




1254 (recognizing potential adverse precedent as valid impairment under Rule 24). See also Coal.,

100 F.3d at 841-44 (holding similarly).

       The fact that factual holdings in this proceeding may also be based on information that

contradicts what Mr. Lowe and his counsel have represented to the Southern District of Indiana

aggravate any potential impairment. That PETA can alert the Southern District of Indiana to these

discrepancies is not a sufficient remedy. Utah Ass’n of Ctys., 255 F.3d at 1254 (“[W]here a

proposed intervenor’s interest will be prejudiced if it does not participate in the main action, the

mere availability of alternative forums is not sufficient to justify denial of a motion to intervene.”).

               3.      PETA is entitled to protect it is financial interests

       The practical implications of a decision in this proceeding for PETA’s financial interests—

that it may impair PETA’s ability to collect its outstanding and anticipated debt—is also

cognizable. Utah Ass’n of Ctys., 255 F.3d at 1253 (“Moreover, ‘the Rule refers to impairment ‘as

a practical matter.’ Thus, the court is not limited to consequences of a strictly legal nature.’”)

(citation omitted); Coal., 100 F.3d at 841 (same).

       D.      PETA’s Interests Are Not Adequately Represented by the Existing Parties

       PETA’s burden to show that existing parties may not adequately represent its interests is

similarly “minimal.” Kane Cty., 928 F.3d at 892; WildEarth Guardians v. U.S. Forest Serv., 573

F.3d 992, 996 (10th Cir. 2009); Utah Ass’n of Ctys., 255 F.3d at 1254. PETA does not need to—

and does not intend to—impugn the United States’ prosecution of its lawsuit against Defendants,

but need only explain how its interests and those of the United States “may” diverge. Kane Cty.,

928 F.3d at 892, citing Natural Res. Def. Council, 928 F.3d at 877.

               1.      The government presumptively represents varied stakeholders

       When the representative of a movant’s interest is the government, the presumption of

adequacy can be “rebutted by the fact that the public interest the government is obligated to

                                                – 13 –
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 18 of 23




represent may differ from the would-be intervenor’s particular interest.” Id.; Utah Ass’n of Ctys.,

255 F.3d at 1255. This is because, even where “both the government and the intervenors have the

same objective” and will “occupy the same posture in the litigation . . . the government is obligated

to consider a broad spectrum of views, many of which may conflict with the particular interest of

the would-be intervenor.” Utah Ass’n of Ctys., 255 F.3d at 1255-56. See also W. Energy All., 877

F.3d at 1168 (same); Coal., 100 F.3d at 845 (same); National Farm Lines v. Interstate Commerce

Comm’n, 564 F.2d 381, 384 (10th Cir.1977) (recognizing that it is “on its face impossible” for the

government to protect not only the interests of the public but also movants).2

       The potential divergence between PETA’s interests and the government’s balancing of

competing policy considerations is readily apparent. For example, some of PETA’s disagreements

with the government in its administration of the ESA and AWA are a matter of public record.

PETA has previously sued the United States for the “policy, pattern, and practice of rubber-

stamping . . . license renewal applications” of animal exhibitors. PETA v. United States Dep’t of

Agric., 861 F.3d 502, 505 (4th Cir. 2017). For this reason, in its prior ESA litigation, PETA has

submitted evidence regarding the quality of care provided by facilities capable of meeting

standards for animal welfare promulgated by the Global Federation of Animal Sanctuaries

(“GFAS”). See, e.g., Br. in Supp. of Mot. for Determination of Sanctuaries for Placement of Big

Cats, PETA v. WIN, et al., No. 4:17-cv-00186-RLY-DML (S.D. Ind. Aug. 24, 2020), [Doc. No.




2        While PETA has no indication such a scenario is likely here, it would be perverse if,
because PETA may have confidence in the case brought by the United States, it was obligated to
remain at the mercy of “unanticipated policy shifts.” Utah Ass’n of Ctys., 255 F.3d at 1256. See
also W. Energy All., 877 F.3d at 1168 (recognizing that “government policy may shift”). These
concerns are particularly relevant here, where the government’s case was filed in November 2020
before the inauguration of a new presidential administration. Id. at 895 (“Our court has recognized
that a ‘change in [presidential a]dministration raises ‘the possibility of divergence of interest’ or a
‘shift’ during litigation.’”).
                                                – 14 –
     6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 19 of 23




384,] at 3-6 (quoting verified expert report and declarations from the Vice President of GFAS and

the heads of two GFAS-accredited sanctuaries as to the standards at GFAS or GFAS-equivalent

facilities).3

        Likewise, PETA has had particular success in arguing that husbandry standards voluntarily

embraced by private facilities should inform interpretation of the ESA. See, e.g., PETA v. WIN, et

al., 476 F. Supp. 3d 765, 772 (S.D. Ind. 2020) (crediting the testimony of a behavioral and

husbandry expert employed by a facility accredited by the Association of Zoos and Aquariums

(“AZA”)); Tri-State, 424 F. Supp.3d at 415-416, 431 (crediting similar expert testimony and

applying AZA standards to analysis of whether facility’s lemur and tiger care met AZA standards).

For this reason, examples of generally accepted husbandry standards embraced by private facilities

are highlighted as relevant guidance in the verified allegations of PETA’s draft complaint. See,

e.g., Ex. 1, at ¶¶ 70-72, 96. PETA anticipates these standards will significantly inform the analysis

of its expert witnesses. The United States, on the other hand, is responsible for promulgating

husbandry standards under the AWA and has put forward experts employed by the USDA. See,

e.g., [Doc. No. 10-16,] at ¶ 1 (testimony of veterinary medical officer employed by USDA since

2004). Without casting any aspersions on the testimony that may be offered by such experts—or

on such experts’ qualifications—it is presumptively the case that the government’s views about

appropriate husbandry will represent varied stakeholders. Utah Ass’n of Ctys., 255 F.3d at 1255-




3       On January 15, 2021, this Court ordered Defendants to relinquish “all Big Cats one year
old or younger, along with their respective mothers, to the United States to be transferred to
reputable facilities, selected by the United States, pending final resolution of the United States’
claims in this case.” [Doc. No. 65,] at 34. Without impugning the adequacy of this preliminary
relief or any temporary placements arranged by the United States, preliminary relief—which on
its face does not extend to all of the animals at issue—does not alter PETA’s ongoing interest in
ensuring appropriate final relief for all animals in Defendants’ control.


                                               – 15 –
       6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 20 of 23




56; W. Energy All., 877 F.3d at 1168; Coal., 100 F.3d at 845; National Farm Lines, 564 F.2d at

384.

                2.      PETA is entitled to pursue its own litigation strategy

         There are also meaningful distinctions between the case prosecuted by the United States

and PETA’s anticipated litigation. For example, as discussed above, PETA anticipates putting

forward evidence of generally accepted husbandry standards embraced by private, more reputable

facilities. Supra at 14-15.

         Furthermore, as is apparent from PETA’s NOI and the verified allegations in PETA’s draft

complaint, PETA anticipates adding additional Defendants—Cheryl Scott, Eric Yano, Erik Cowie,

and the Big Cat Institute. Ex. 1, at ¶¶ 14, 18-20; NOI Letter. The verified allegations of PETA’s

draft complaint also include numerous allegations—concerning, for example, the genetic and

social effects of Defendants’ crossbreeding of Big Cats, the transport of animals more than 800

miles from Indiana to Oklahoma in 100 degree heat in the summer of 2019 without water or air-

conditioning, and Defendants’ alleged trafficking of Big Cats—not advanced by the United States.

See, e.g., Ex. 1, at ¶¶ 34, 109-113, 119-127. Many of the unique, verified allegations in PETA’s

draft complaint stem from PETA’s own extensive investigation of Defendants’ practices. See, e.g.,

Ex. 1, at ¶¶ 34, 42-43, 51-52, 58-59, 79, 81-82, 106, 110, 125, 165-168 (allegations premised in

whole or in part on discovery PETA took in other proceedings).

         Although the United States may pursue such allegations at a later date, and while this Court

has taken steps to bind current non-parties such as Mr. Yano piecemeal, see [Doc. No. 65,] at

32-33, PETA has a right under Rule 24(a) to pursue its preferred strategy even if the United States

may choose in any particular instance to prioritize “the efficient administration of its own litigation

resources.” Kane Cty., 928 F.3d at 895.



                                                – 16 –
      6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 21 of 23




II.     Alternatively, PETA Satisfies the Standards for Permissive Intervention

        As set forth above, PETA meets the requirements for intervention as of right under Rule

24(a). Alternatively, PETA also meets the requirements for permissive intervention under Rule

24(b). Under Rule 24(b), permissive intervention may be granted when a movant “has a claim or

defense that shares with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). In determining whether to allow permissive intervention, courts are instructed to

consider “whether the intervention will unduly delay or prejudice the adjudication of the original

parties’ rights.” Fed. R. Civ. P. 24(b)(3).

        PETA meets this standard. For the reasons addressed above, PETA’s intervention is timely.

Supra at 6-8. PETA’s intervention will not unduly delay or prejudice the original parties’ rights—

as discussed above, Defendants have acknowledged intervention is an alternative to parallel

litigation in the Western District of Oklahoma. Oral Arg. Tr., at 19:6-21:3. Because it is sufficiently

early in the litigation, and because PETA has the benefit of evidence preserved via its Rule 27

proceeding and extensive experience litigating similar claims—including claims against and

involving Defendants, see, e.g., Ex. 1, at ¶¶ 165-168; S.D. Ind. Summ. J. Mot.; First S.D. Ind.

Supplemental Evidence Mot.; Second S.D. Ind. Supplemental Evidence Mot.—PETA anticipates

that it can participate on more or less the same schedule as the United States and Defendants.4

        There is no question that PETA’s prosecution of its intended litigation “shares with the

main action . . . common question[s] of law [and] fact.” Fed. R. Civ. P. 24(b)(1)(B). As disclosed

in PETA’s draft verified complaint, Ex. 1, at ¶¶ 21-158, PETA seeks to prove factual and legal


4       PETA anticipates noticing appearances by counsel with experience in several successful
civil actions involving Defendants, Defendants’ current or former facilities, Defendants’ business
partners in their Wynnewood and Thackerville operations, and similar facilities. See, e.g., PETA
v. Lowe, et al., 2020 WL 7755657; Lauren Lowe Contempt Order; PETA v. WIN, et al., 476 F.
Supp. 3d 765 (S.D. Ind. Aug. 3, 2020); Big Cat Rescue Corp. v. Schreibvogel, No. CIV-16-155-
SLP, 2020 WL 2842845, at *3 (W.D. Okla. June 1, 2020); Tri-State, 424 F. Supp. 3d 404.
                                                – 17 –
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 22 of 23




questions at the center of this proceeding. Rather than distract from the main action, PETA will

provide a more complete consideration and adjudication of the issues at hand. This is in part

because PETA, as discussed above, will represent distinct interests and be committed to

investigating a broader set of parties and facts. Supra at 13-16. This is also because PETA brings

a unique expertise both in Defendants’ operations and litigating claims on behalf of captive

animals. Supra at 17 n.4.

                                            Conclusion

       For the reasons set forth above, PETA should be granted leave to intervene as a party

plaintiff under Rule 24(a) or, in the alternative, Rule 24(b).

                                                   Respectfully submitted,

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                                               – 18 –
    6:20-cv-00423-JFH Document 86 Filed in ED/OK on 04/28/21 Page 23 of 23




                               CERTIFICATE OF SERVICE

     The undersigned certifies that the foregoing was served on April 28, 2021, via the Court’s
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                                            – 19 –
